                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

     DONALD W. ACTON,                             )
     and MARY K. ACTON,                           )
                                                  )
              Plaintiffs,                         )      No. 3:12-cv-00532
                                                  )      Phillips/Guyton
     v.                                           )
                                                  )      JURY DEMANDED
     REGIONS BANK,                                )
                                                  )
              Defendant.                          )

     ________________________________________________________________________

                AGREED ORDER OF DISMISSAL WITH PREJUDICE
     ________________________________________________________________________

              By evidence of the signatures of counsel for Plaintiffs and Defendant, the Court

     finds that the parties have reached an agreement in the above-referenced cause. The

     Court hereby ORDERS that the action herein is DISMISSED WITH PREJUDICE, with

     costs assessed to the Defendant, Regions Bank.

              So ORDERED this _____ of __________________, 2013.




     APPROVED FOR ENTRY:

     HODGES, DOUGHTY & CARSON, PLLC

     By:      s/Joshua J. Bond, w/perm. to MKB
              Joshua J. Bond, #020636
              P.O. Box 869
              Knoxville, TN 37901
              (865) 292-2307
              jbond@hdclaw.com
              Attorneys for Plaintiffs



     665882
Case 3:12-cv-00532-HSM-HBG Document 14-1 Filed 09/12/13 Page 1 of 2 PageID #: 61
     BAKER, DONELSON, BEARMAN,
     CALDWELL & BERKOWITZ, PC

     By:      s/Marcie K. Bradley
              Clinton Sanko, #023354
              Marcie Kiggans Bradley, #028222
              1800 Republic Centre
              633 Chestnut Street
              Chattanooga, TN 37450
              (423) 209-4168
              (423) 752-9522
              csanko@bakerdonelson.com
              Attorneys for Defendant




     665882
Case 3:12-cv-00532-HSM-HBG Document 14-1 Filed 09/12/13 Page 2 of 2 PageID #: 62
